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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                                  )
In re:                                                            ) Chapter 11 (Subchapter V)
                                                                  )
FREE SPEECH SYSTEMS LLC,                                          ) Case No. 22-60043 (CML)
                                                                  )
                            Debtor.                               )
                                                                  )

    JOINT MOTION OF THE CONNECTICUT PLAINTIFFS AND THE TEXAS
    PLAINTIFFS TO REVOKE THE DEBTOR’S SUBCHAPTER V ELECTION

           This motion seeks an order that may adversely affect you. If you
           oppose the motion, you should immediately contact the moving party
           to resolve the dispute. If you and the moving party cannot agree, you
           must file a response and send a copy to the moving party. You must
           file and serve your response within 21 days of the date this was served
           on you. Your response must state why the motion should not be
           granted. If you do not file a timely response, the relief may be granted
           without further notice to you. If you oppose the motion and have not
           reached an agreement, you must attend the hearing. Unless the
           parties agree otherwise, the court may consider evidence at the
           hearing and may decide the motion at the hearing.

           Represented parties should act through their attorney.

           The Connecticut Plaintiffs1 and the Texas Plaintiffs2 (together, the “Sandy Hook

Families”), by and through their respective undersigned counsel, file this joint motion

(the “Motion”) for entry of an order pursuant to sections 105(a), 1104, and 1182 of

title 11 of the United States Code (the “Bankruptcy Code”), revoking the subchapter V

election of Free Speech Systems LLC (the “Debtor” or “FSS”) and directing that further

1
         The “Connecticut Plaintiffs” are Mark Barden, Jacqueline Barden, Francine Wheeler, David
         Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach,
         Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, and Robert Parker.
2
         The “Texas Plaintiffs” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and
         Marcel Fontaine. For purposes of this Motion, Marcel Fontaine is one of the “Sandy Hook
         Families” for ease of identification, but his claims against the Debtor are distinct and not
         “Sandy Hook” related.
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proceedings in this chapter 11 case comply with all applicable requirements under

chapter 11 of the Bankruptcy Code. In support of the Motion, the Sandy Hook Families

respectfully state as follows:

                             PRELIMINARY STATEMENT

       1.      FSS is not eligible for relief under subchapter V of the Bankruptcy Code

because it is a “member of a group of affiliated debtors under this title that has aggregate

non[-]contingent liquidated secured and unsecured debts in an amount greater than

$7,500,000.” 11 U.S.C. § 1182(1)(B)(i). Subchapter V is exclusively available to small

businesses with limited resources and, more importantly, limited liabilities, such that

Congress determined that they were entitled to streamlined reorganization procedures that

deprive creditors of certain “bedrock” protections otherwise available in chapter 11. In

determining whether a debtor is sufficiently “small” to qualify for subchapter V,

Congress focused exclusively on the amount of liquidated debts owed to non-affiliated

creditors. Where a debtor owes less than $7.5 million, Congress determined that the

benefits of an expedited reorganization process outweigh the creditors’ need for more

fulsome protections, including application of the absolute priority rule. But where a

debtor—or, as relevant here, “a group of affiliated debtors”—owes more than

$7.5 million in liquidated debts, Congress provided creditors with the full scope of

protections offered under chapter 11 of the Bankruptcy Code. The Sandy Hook Families

hold liquidated judgments exceeding $1.4 billion, more than 186 times the statutory limit.

       2.      It is no answer that the Sandy Hook Families’s claims were unliquidated

on July 29, 2022, when FSS commenced its subchapter V case. Congress imposed two

separate tests to determine whether a “small business” is eligible for subchapter V, and




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FSS must satisfy both tests. First, FSS itself must have less than $7.5 million in

liquidated debts “as of the date of the filing of the petition.” 11 U.S.C. § 1182(1)(A).

Because FSS filed its subchapter V case before the Sandy Hook Families’s claims were

liquidated, it arguably meets this test. Second, FSS cannot be a “member of a group of

affiliated debtors under this title that has aggregate non[-]contingent liquidated secured

and unsecured debts in an amount greater than $7,500,000.” Id. at § 1182(1)(B)(i).

Unlike the first test, this prong is not solely tested as of the petition date; indeed, such

words do not appear at all in the subsection. FSS therefore ceased qualifying as an

eligible subchapter V debtor once Alex Jones (“Jones”) filed his own chapter 11 case in

December 2022 and the Sandy Hook Families’s claims were liquidated. Today, there is

no question that FSS and Jones are “affiliated debtors” and that the Sandy Hook

Families’s claims have been liquidated in an amount exceeding $7.5 million. Under the

plain language of the statute, FSS is therefore ineligible to proceed under subchapter V.

       3.      Revoking FSS’s subchapter V election ensures that the Sandy Hook

Families will gain the full suite of protections the Bankruptcy Code offers creditors under

chapter 11. For example, by excising the absolute priority rule, subchapter V allows the

owner of a “mom-and-pop” business to retain its equity ownership notwithstanding the

business’s failure to pay creditors in full, provided that such creditors receive the

disposable income generated by that business for three to five years. That makes

proportional sense where a debtor owes less than $7.5 million. When the debtor owes

creditors $1.4 billion, however, it makes no sense at all. Larger claims require greater

protections, and revocation is the appropriate mechanism for obtaining these protections.




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       4.     By this Motion, the Sandy Hook Families seek to ensure that they are fully

protected in these chapter 11 cases. In doing so, the Sandy Hook Families seek to

minimize the disruption to the Debtor. The Motion, for example, does not seek to

dismiss the Debtor’s case, or at this stage, seek conversion to a chapter 7 proceeding.

Rather, the Sandy Hook Families submit that the case proceed as a regular chapter 11

case—no different from Jones’s individual chapter 11 case. No official committee of

unsecured creditors would need to be formed given the already-existing Official

Committee of Unsecured Creditors in the Jones chapter 11 case, thus avoiding the

unnecessary costs of two separate committees.        Finally, the Sandy Hook Families

recognize the important work well underway by the subchapter V trustee, and

respectfully submit that she be appointed as an examiner in the FSS chapter 11 case with

the same responsibilities. Indeed, revoking the Debtor’s subchapter V election will allow

both the FSS and Jones chapter 11 cases to efficiently proceed on parallel paths, rather

than the current prospect of two separate plan confirmation proceedings.

       5.     For these reasons, and those set forth more fully below, the Sandy Hook

Families respectfully request that the Court revoke FSS’s subchapter V election and

ensure the Sandy Hook Families’s entitlement to all of the protections that the

Bankruptcy Code provides to creditors holding $1.4 billion in liquidated claims.

                            JURISDICTION AND VENUE

       6.     This Court has jurisdiction over the Motion under 28 U.S.C. § 1334.

Venue is proper under 28 U.S.C. § 1408. This is a core proceeding as defined in

28 U.S.C. § 157(b).    The statutory predicates for the relief requested herein are

sections 105, 1104, and 1182 of the Bankruptcy Code.




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                                         BACKGROUND

I.       The Pre-Petition Litigation

         7.      In May 2018, a subset of the Connecticut Plaintiffs brought an action in

Connecticut state court against, among others, FSS and Jones alleging defamation,

intentional infliction of emotional distress, invasion of privacy, and civil conspiracy.

Lafferty v. Jones, Case No. XX-XXXXXXX, Complaint (May 23, 2018) at ¶¶ 336–94.

Substantially similar actions against the same defendants filed by the remaining

Connecticut Plaintiffs were consolidated with this initial lawsuit under the caption

Lafferty v. Jones, Case No. UWY-CV18-6046436-S, which resulted in a default

judgment against, among others, FSS and Jones after years of non-compliance in respect

of discovery requests and other court orders. See Lafferty, Nov. 15, 2021, Hr’g Tr.

[Docket No. 579] (Nov. 18, 2021) at *9–13, *57 (ordering default judgment against Jones

and other defendants because of, among other things, “willful non[-]compliance” with

court orders). After a damages trial in October 2022, a jury awarded approximately

$965 million in compensatory damages to the Connecticut Plaintiffs. Lafferty, Verdict

for Plaintiffs [Docket No. 1010] (Oct. 12, 2022). Subsequently, the Connecticut state

court ordered approximately $323 million in common-law punitive damages and

attorneys’ fees and $150 million in statutory punitive damages.                   Lafferty, Memo.

Decision re Punitive Damages [Docket No. 1026] (Nov. 10, 2022) at *44–45.

         8.      Also in 2018, subsets of the Texas Plaintiffs brought actions in Texas state

court against FSS and Jones.3 Of these, Neil Heslin’s and Scarlett Lewis’s cases were


3
       See Heslin v. Jones, Cause No. D-1-GN-18-001835, in the 261st District Court of Travis County,
       Texas; Lewis v. Jones, Cause No. D-1-GN-18-006623, in the 53d District Court for Travis County,
       Texas; Pozner v. Jones, Cause No. D-1-GN-18-001842, in the 345th District Court of Travis



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consolidated, and on January 13, 2022, the state court entered a final judgment in the

consolidated litigation, Heslin v. Jones, Cause No. D-1-GN-18-001835, in the

261st District Court of Travis County, Texas.

II.       The FSS Bankruptcy

          9.      Meanwhile, on July 29, 2022, FSS filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Texas (the “Court”).                Voluntary Petition of Free Speech

Systems LLC [Docket No. 1] (the “FSS Petition”). The FSS Petition claimed “aggregate

non[-]contingent liquidated debts” of “less than $7,500,000” and checked “choose[] to

proceed under subchapter V of Chapter 11.” Id. at 2 (emphasis modified). The FSS

Petition declined to identify the Debtor as a “small business debtor as defined in

11 U.S.C. § 101(51D).” Id. The FSS Petition lists Jones as the 100% owner of the

common equity of FSS and denotes Jones’s “Membership Interest” in FSS. Id. at *8.

III.      The Jones Bankruptcy

          10.     On December 2, 2022—less than a month after the award of damages in

Lafferty, but prior to the Connecticut state court’s entry of judgment—Jones filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. In re Alexander E.

Jones, Case No. 22-33553 (Dec. 2, 2022), Voluntary Petition of Alexander Emeric Jones

[Docket No. 1] (the “Jones Petition”). The Jones Petition disclosed the decision to seek

such relief before the Court because of an “affiliate case filed in the district,” i.e., this

chapter 11 case. Id. at *2. The Jones Petition also responded “[y]es” to a question that

asked “[a]re any bankruptcy cases pending or being filed . . . by an affiliate,” noting that

        County, Texas; Fontaine v. Jones, Cause No. D-1-GN-18-001605, in the 459th District Court for
        Travis County, Texas




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Jones’s “affiliate,” i.e., FSS, had filed the FSS Petition on July 29, 2022. Id. at *3.

The Jones Petition likewise included an affirmation that “I am filing under Chapter 11,

but I am NOT a small business debtor according to the definition in the Bankruptcy

Code.” Id. at *4 (emphasis in original).

        11.     The Jones Petition estimated assets between $1,000,001 and $10 million

and aggregate liabilities between $1,000,000,001 and $10 billion. Id. at 7. The Jones

Petition lists several Connecticut Plaintiffs as creditors that hold the largest unsecured

claims against the estate, identifying each of these creditors’ claims as contingent,

unliquidated, and disputed. See Jones Petition, List of Creditors Who Ha[ve] the 20

Largest Unsecured Claims Against You and Are Not Insiders, 1–17.                      Pursuant to

section 362 of the Bankruptcy Code, the Jones Petition automatically stayed all pending

litigation against his estate.

IV.     The Connecticut and Texas Judgments

        12.     However, upon joint stipulation modifying the automatic stay between the

Sandy Hook Families, FSS, and Jones, the Court entered an order allowing cases filed by

the Sandy Hook Families against FSS and Jones to proceed to entry of judgment, and to

allow any appeals once these judgments were entered. Jones, Agreed Order Modifying

the Automatic Stay [Docket No. 58] (Dec. 19, 2022) at *2. Judgment was entered in

Connecticut against Jones and FSS on December 22, 2022 (the “Connecticut Judgment”).

Lafferty, Judgment on Verdict for Plaintiffs [Docket No. 1044] (Dec. 22, 2022).4

FSS and Jones owe in excess of $1,438,000,000 under the Connecticut Judgment.


4
      Pursuant to section 17-2 of the Connecticut Practice Book, judgment enters when the last order
      perfecting the judgment is entered. Here, judgment entered on December 22, 2022. See Lafferty,
      Memo. Decision re New Trial and Remittitur Motions [Docket No. 1043] (Dec. 22, 2022) at *5–6.




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       13.     Jones has appealed the Connecticut Judgment to the Connecticut

Appellate Court. Lafferty, Appeal Form [Docket No. 1050] (Dec. 29, 2022).

       14.     The judgment rendered by the 261st District Court for Travis County,

Texas, in favor of the Texas Plaintiffs was entered on January 13, 2023

(the “Texas Judgment”).      Notice of Final Judgment [Docket No. 382] Ex. 1

(Jan. 13, 2023). The Texas Judgment ordered that certain of the Texas Plaintiffs recover

$50,043,653.80 against FSS and Jones. Id. at *3. On February 14, 2023, Jones filed his

Schedules of Assets and Liabilities and Statement of Financial Affairs in his

chapter 11 case. Schedules of Assets and Liabilities and Statement of Financial Affairs

[Docket Nos. 161, 162] (the “Jones Schedules and Statements”). The Jones Schedules

and Statements include claims in respect of the Connecticut Judgment and do not indicate

this claim is “unliquidated,” despite an instruction to do so if applicable. Jones Schedules

and Statements, Schedule E/F at *2–8.

                                 RELIEF REQUESTED

       15.     By this Motion, the Sandy Hook Families request entry of the Proposed

Order revoking the Debtor’s subchapter V election and directing that further proceedings

under this chapter 11 case comply with all requirements under chapter 11 of the

Bankruptcy Code.

                                  BASIS FOR RELIEF

       16.     The plain text of section 1182 of the Bankruptcy Code excludes from

eligibility under subchapter V any member of a group of affiliated debtors with aggregate

non-contingent, liquidated debts in excess of $7,500,000.         The Jones Petition and

subsequent entry of the Connecticut Judgment—an amount dwarfing $7,500,000—

accordingly preclude the Debtor’s election for treatment under subchapter V of the


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Bankruptcy Code. In proceedings under both subchapter V and chapter 13, numerous

courts have concluded they cannot alter, modify, or waive these statutorily prescribed

thresholds on debt.

        17.    Accordingly, the Court should revoke FSS’s election for treatment under

subchapter V. Revocation also serves the best interests of the Debtor’s estate and its

creditors, allowing FSS to continue operating and generating income, on the one hand,

while ensuring critical protections for creditors that are otherwise absent from

subchapter V, on the other. Revocation lastly comports with the intent of Congress in

enacting subchapter V for the benefit of debtors with only modest liabilities, and will

not—on account of the work already undertaken by the subchapter V trustee and the

already-existing Official Committee of Unsecured Creditors in the Jones chapter 11

case—disrupt or delay an orderly transition to chapter 11.

I.      The Court Should Revoke FSS’s Subchapter V Election Because FSS Is No
        Longer Eligible for Subchapter V Treatment

        A.     The Statutory Text Unambiguously Excludes FSS from Subchapter V

        18.    Congress drafted section 1182 of the Bankruptcy Code to ensure that only

certain debtors could proceed under subchapter V. See 11 U.S.C. § 1182(1). In defining

the term “debtor,” section 1182 expressly excludes “any member of a group of affiliated

debtors under this title that has aggregate non[-]contingent liquidated secured and

unsecured debts in an amount greater than $7,500,000 (excluding debt owed to 1 or more

affiliates or insiders).” 11 U.S.C. § 1182(1)(B)(i).

               i.      Jones and FSS Are Affiliated Debtors

        19.    Section 101 of the Bankruptcy Code defines an “affiliate” as an “entity

that directly or indirectly owns, controls, or holds with the power to vote, 20 percent or



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more of the outstanding voting securities of the debtor . . . ” 11 U.S.C. § 101(2)(A).

As the FSS Petition acknowledges, Jones own 100% of the membership interests of FSS.

FSS Petition, List of Equity Security Holders. The Jones Petition likewise expressly

identifies FSS as an affiliate of Jones. Jones Petition at 3.

               ii.     Jones and FSS Now Carry More Than $7,500,000 in Aggregate
                       Non-Contingent Liquidated Debts

       20.     The Jones Petition estimates between $1 billion and $10 billion in

aggregate liabilities, and lists the claims held by the Connecticut Plaintiffs. See id. at 7.

The Jones Petition identifies these claims as contingent, disputed, and unliquidated.

Jones Petition, List of Creditors Who Ha[ve] the 20 Largest Unsecured Claims Against

You and Are Not Insiders, 1–7. Not only were these claims liquidated at the time the

Jones Petition was filed, the Connecticut and Texas state courts have since entered the

Connecticut Judgment and the Texas Judgment respectively, which include in excess of

$1,438,000,000 owed to the Connecticut Plaintiffs and $50,043,653.80 to certain of the

Texas Plaintiffs.    Lafferty, Judgment on Verdict for Plaintiffs [Docket No. 1045]

(Dec. 22, 2022); Notice of Final Judgment [Docket No. 382] Ex. 1 (Jan. 13, 2023).

       21.     Because amounts owed in respect of the Connecticut and Texas Judgments

are fixed, precise, and certain, these claims are liquidated and non-contingent.

See, e.g., In re Scott, 2006 WL 3166841, at *2 (Bankr. S.D. Tex. Nov. 1, 2006)

(“Courts have generally held that a debt is ‘liquidated’ if its amount is readily and

precisely determinable, as where the claim is determinable by reference to an agreement,

judgment, or by a simple computation. A debt is liquidated if the amount due can be

determined with some degree of precision.”). Indeed, Jones recognizes this, as in the

recently filed Jones Schedules and Statements he acknowledges the amounts he owes to



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the Connecticut Plaintiffs as liquidated.       See Jones Schedules and Statements,

Schedule E/F at *2–8.

       22.     The pendency of appeals by FSS and Jones does not affect this conclusion.

See In re Xenos Yuen, 2013 WL 5567266, at *2 (Bankr. S.D. Tex. Oct. 9, 2013) (“A final

judgment is not required for a debt to be non[-]contingent or liquidated. The fact that a

judgment is on appeal does not make the debt contingent or unliquidated. A judgment on

appeal represents a liability which is fixed and non[-]contingent and remains a final,

enforceable judgment until it is reversed, if ever, on appeal.”); see also In re Ibbott,

637 B.R. 567, 579–82 (Bankr. D. Md. 2022) (collecting cases in support of the

same proposition).

               iii.     This Requirement Is Not Fixed to the Petition Date

       23.     The plain text of section 1182 of the Bankruptcy Code requires that any

debtor electing subchapter V treatment meet these eligibility requirements for the

duration of its chapter 11 case. While section 1182(1)(A) makes reference to the petition

date in respect of certain eligibility requirements not relevant here, section 1182(1)(B)

does not. Compare 11 U.S.C. § 1182(1)(A) (providing that certain requirements are to be

assessed “as of the date of the filing of the petition . . . ”) with § 1182(1)(B)

(providing for no such limitation).

       24.     The Court should afford significance to this omission.      See Dean v.

United States, 556 U.S. 568, 573 (2009) (“[W]here Congress includes particular language

in one section of a statute but omits it in another section of the same [statute], it is

generally presumed that Congress acts intentionally and purposely in the disparate

inclusion or exclusion.”) (quoting Russello v. United States, 464 U.S. 16, 23 (1983));

Burnett v. Stewart Title, Inc., 431 B.R. 894, 897 (S.D. Tex. 2010), aff’d sub nom.


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In re Burnett, 635 F.3d 169 (5th Cir. 2011) (same). The presence of this limitation in

section 1182(1)(A) and subsequent omission from the very next subsection means that

Congress “considered the unnamed possibility and meant to say no to it.”

See Barnhart v. Peabody Coal Co., 537 U.S. 149, 168 (2003).

       25.     When the Jones Petition was filed, and even more so, once the

Connecticut    and    Texas    state   courts    entered    the   Connecticut     Judgment

(December 22, 2022) and Texas Judgment (January 13, 2023), respectively, FSS became

a member of a group of affiliated debtors with aggregate non-contingent liquidated debts

over $7,500,000 owed to non-insiders or affiliates.        FSS therefore, for purposes of

subchapter V, is “not a debtor.” See 11 U.S.C. § 1182(1)(B)(i).

       B.      The Court Should Not Disregard the Limitations Imposed by
               Section 1182(1)(B)(i)

       26.     The Court should accordingly revoke the Debtor’s subchapter V election.

In the two cases to have directly considered eligibility requirements under section 1182 in

this context, the court revoked the debtor’s subchapter V election on the basis of the plain

meaning of the statutory text. See In re Serendipity Labs, Inc., 620 B.R. 679, 865–686

(Bankr. N.D. Ga. 2020) (revoking the debtor’s subchapter V designation because the

debtor does not satisfy the “plain language” of the applicable definition in the

Bankruptcy Code and noting that “the Court’s inquiry ends there”); In re Phenomenon

Mktg. & Ent., LLC, 2022 WL 1262001, at *5 (Bankr. C.D. Cal. Apr. 28, 2022),

as modified by, 2022 WL 3042141 (Bankr. C.D. Cal. Aug. 1, 2022) (enforcing the

statute’s “plain language” and finding the debtor did not meet the criteria of section 1182

and therefore could not proceed under subchapter V).




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        27.      Courts in both cases considered and rejected the possibility that practical

considerations      should     govern      in    derogation      of    the    plain    statutory     text.

In Serendipity Labs, for example, the court dismissed the debtor’s arguments that

revocation might increase administrative expense or destroy value for stakeholders,

acknowledging that “[w]hile that may be true, Congress enumerated specific eligibility

requirements under [section] 1182 without affording courts discretion to consider the

potential effect of the election on the bankruptcy estate. The benefits of subchapter V are

available to debtors who qualify and are not available to those who do not.” 620 B.R. at

682–83; see also In re Phenomenon Mktg. & Ent., 2022 WL 1262001, at *5

(observing that “[t]o the extent that Congress did intend entities such as the Debtor to

benefit from subchapter V, it is the role of Congress, not this Court, to amend the statute

accordingly”).5

        28.      These decisions reflect a broader consensus that debt limits prescribed by

the Bankruptcy Code are neither discretionary nor flexible. Courts have reached similar

conclusions in the context of chapter 13, rejecting policy arguments that would privilege

discretion in favor of adherence to the statutory text. See, e.g., In re Smith, 435 B.R.

637, 649 (B.A.P. 9th Cir. 2010) (“To the extent the existing chapter 13 debt limits are too

low to provide chapter 13 relief to homeowners impacted by the current economic

climate, that is a matter within the purview of Congress.”); In re Bailey-Pfeiffer,

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      Rule 1020(b) of the Federal Rules of Bankruptcy Procedure—which provides that “a party in interest
      may file an objection to the debtor’s [subchapter V election] . . . no later than 30 days after the
      conclusion of a meeting of the creditors held under § 341(a) of the [Bankruptcy Code]” offers no
      basis to deny revocation here. See Fed. R. Bankr. P. 1020(b). First, the circumstances giving rise to
      revocation did not arise until December 2, 2022, when the Jones Petition was filed. Second, in any
      event, a court is empowered to revoke a debtor’s subchapter V election sua sponte if it does not meet
      the eligibility requirements of subchapter V. See In re Nat’l Small Bus. All., Inc. (NSBA),
      642 B.R. 345, 347 (Bankr. D.D.C. 2022).




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2018 WL 1896307, at *4 (Bankr. W.D. Wis. Mar. 23, 2018) (“The court cannot limit

application of the debt limits to ‘large business owners’ based on legislative history when

the statutory language is clear on its face and has no such limitation . . . even if all parties

agree that it would be better if [the debtor] were eligible to be a chapter 13 debtor, that

consensus cannot override Congress’s decision to limit those persons eligible for

chapter 13 relief in enacting the 109(e) debt limits.”).

        29.     Much the same is true where the Bankruptcy Code contemplates aggregate

debt limits for multiple filers.          See, e.g., In re Miller, 493 B.R. 55, 61

(Bankr. N.D. Ill. 2013) (“Because the [debtors’] unsecured debt exceeds $360,475, they

are ineligible to be debtors in a joint chapter 13 case, whatever their eligibility to file

individual chapter 13 cases.”); In re Pete, 541 B.R. 917, 920 (Bankr. N.D. Ga. 2015)

(“Perhaps Congress should raise the debt limits for eligibility for chapter 13 cases for

single and joint filers and allow each debtor to qualify separately, but it has not yet

decided to do so.”).

        30.     Courts have acknowledged that adherence to statutorily defined limitations

on indebtedness in these contexts may require that a debtor seek relief under another

chapter of the Bankruptcy Code. See id. at 922 (“In considering such debt limits,

Congress determined that those who exceed these debt limits should have to seek

bankruptcy relief in other ways or chapters, which might include chapters where greater

creditor protections exist—such as a disclosure statement, voting on plan confirmation

and the absolute priority rule found in chapter 11.”); In re Bailey-Pfeiffer,

2018 WL 1896307, at *4 (“[The debtor] is entitled to continue in bankruptcy, but only in

a chapter 7 or chapter 11 case; she cannot continue under chapter 13.”).




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       31.       In sum, overwhelming weight of authorities supports the conclusion that

FSS’s failure to satisfy the eligibility requirements for aggregate indebtedness described

in section 1182 of the Bankruptcy Code should lead the Court to revoke the Debtor’s

subchapter V election. See id. at *4 (“The soundest policy arguments do not trump the

statutory language, and, while the decision to dismiss or convert a case under

section 1307 is discretionary, the court is bound to apply its discretion consistent with the

plain terms of the [Bankruptcy] Code.        Those plain terms preclude the court from

allowing a person who is ineligible to be a chapter 13 debtor from continuing in

chapter 13.”).

II.    The Court Should Revoke the Debtor’s Subchapter V Election, In Any Event

       32.       Because FSS fails to satisfy the eligibility requirements of section 1182,

the Bankruptcy Code requires its subchapter V election be revoked.              In addition,

substantial persuasive authorities suggest that the Court also should do so because

revocation under these circumstances serves the best interests of both FSS and its

creditors. Revocation allows for the possibility that the former will continue operations

as a going concern, on the one hand, and ensures that the latter are afforded the critical

structural protections that Congress intended should apply in chapter 11 cases outside the

context of subchapter V.

       A.        Courts May Revoke a Subchapter V Election Where Revocation
                 Serves the Best Interests of the Estate and Its Creditors

       33.       The Bankruptcy Code does not directly address the revocation of a

debtor’s subchapter V election. At least one court, however, recently concluded that

revocation of a debtor’s subchapter V election need not result in liquidation and may,

if “in the best interests of creditors and the estate,” continue under chapter 11, subject to



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all applicable requirements thereunder. See NSBA, 642 B.R. at 347. Indeed, that court

held that, where a debtor becomes ineligible for subchapter V during the case, the court is

empowered to revoke its subchapter V designation. See id. at 349–50.

       34.     In NSBA, the court determined that a subchapter V debtor that had failed

to confirm a plan on five occasions could not proceed under subchapter V, given the

“Debtor’s failure to propose a [] confirmable plan.” Id. at 347, 349. Notwithstanding the

Bankruptcy Code’s silence on revocation in this manner, the court concluded it was

empowered to revoke the debtor’s subchapter V election for two reasons: (a) courts

permit a debtor to elect to proceed under subchapter V post-petition, and it follows that

the reverse must also be permissible; and (b) section 105 of the Bankruptcy Code

“empower[s the court] to ‘issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of’ the Bankruptcy Code.” See id. at 348–49

(quoting 11 U.S.C. § 105).

       35.     Having concluded the debtor was no longer eligible under subchapter V

and that sufficient authority existed to revoke the debtor’s subchapter V election, the

court likewise held that revoking the debtor’s subchapter V election—rather than

dismissing the chapter 11 case or converting it to chapter 7—served the best interests of

the estate and its creditors. Id. at 349–50. In doing so, it focused on the negative impact

that conversion to chapter 7 or outright dismissal would have on the debtor’s estate and

the recoveries available to creditors. The court noted that dismissal would “once again”

place the debtor “right back into the fray of the state court litigation” that existed before it

filed, and that conversion to chapter 7 would result in the “immediate termination” of the

debtor’s business, at the cost of “little-to-no value to be distributed to creditors.” See id.




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Revocation of the debtor’s subchapter V election without conversion or dismissal, by

contrast, would “preserve the only value currently held by the Debtor,” ensuring “the

ability to continue to attempt to reorganize under the rigors and requirements of standard

chapter 11.” Id.

       36.     In sum, the NSBA court held that “[i]n a situation where a Debtor has

elected subchapter V status but is either (a) not eligible or (b) cannot meet the deadlines

and requirements thereof, allowing for the revocation of the subchapter V designation so

that the debtor may proceed under standard chapter 11 is consistent with the right

conferred to a debtor in the Bankruptcy Code to convert a case to another chapter therein.

There are benefits to both debtors and creditors to allow a case to remain under

chapter 11 with a revocation of the subchapter V election.” Id. at 349 (citations omitted).

       B.      Revocation Serves the Best Interests of the Estate and Its Creditors

       37.     Here, revocation of FSS’s subchapter V election and subsequent

proceedings consistent with the requirements of chapter 11 would similarly serve the best

interests of the Debtor’s estate and its creditors. Unlike the threshold requirements for

eligibility under section 1182, there is “no bright line test” for determining best interests

and “[t]he decision is left to the Court’s discretion.” See In re Ozcelebi, 639 B.R.

365, 425 (Bankr. S.D. Tex. 2022). As in NSBA, however, courts generally consider the

impact of conversion or dismissal on the debtor’s creditors in cases where a debtor is

ineligible to proceed under subchapter V.         See id.   In the case of dismissal, such

considerations include the possibility that the debtor could file for bankruptcy again or

what recoveries, if any, the creditors might then obtain.         See id. (concluding that

conversion served the best interests of all parties, because by the debtor’s “own

admission, dismissal of this case is unlikely to result in recovery for the Debtor’s


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unsecured creditors”); In re Hao, 644 B.R. 339, 349 (Bankr. E.D. Va. 2022)

(“A dismissal without prejudice would only invite the Debtor to file the same case a

second time. There would be no resolution of the creditors’ claims outside

of bankruptcy.”).

       38.     An orderly transition to chapter 11 would provide FSS’s creditors

significant structural protections—including the benefit of the absolute priority rule,

heightened requirements for cramdown, and adequate information under a disclosure

statement—which       are   otherwise    unavailable    on    account    of   subchapter V.

See generally 11 U.S.C. §§ 1125, 1129 (requiring the claims of a dissenting class of

creditors to be paid in full before any class of creditors junior to the class may receive or

retain property in satisfaction of their claims—the “absolute priority rule”); (allowing a

court to approve a plan of reorganization as long as one “impaired” class votes in favor of

the plan and other requirements are met—the “cramdown requirements”); (requiring a

statement containing “adequate information” and meeting specific notice requirements be

approved by the court before a plan is confirmed—the “disclosure statement”);

see also In re Lehman Bros. Holdings Inc., 855 F.3d 459, 470 (2d Cir. 2017) (noting that

“the absolute priority rule” is a “bedrock principle of bankruptcy law, under which

creditors are entitled to be paid ahead of shareholders in the distribution of

corporate assets”).

       39.     Although the Sandy Hook Families would not object to conversion to

chapter 7 or outright dismissal, chapter 11 likely offers the most constructive path

forward. Conversion to chapter 7 may adversely affect creditor recoveries and dismissal

at this stage would likely destroy whatever going-concern value FSS might otherwise




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make available to creditors like the Sandy Hook Families. Dismissal, as in NSBA, would

return the parties “right back into the fray of [] state court litigation” with little obvious

benefit to any party. See NSBA, 642 B.R. at 349. Accordingly, chapter 11 represents the

least disruptive path forward at this juncture.

III.   Revocation Comports with Congressional Intent in Enacting Subchapter V

       40.     Although not dispositive, the same policy concerns that animated the

Congressional enactment of subchapter V in the first instance also buttress the revocation

of FSS’s subchapter V election. Indeed, Congress enacted subchapter V in an effort to

benefit “typical[] family-owned businesses” by “streamlin[ing] the process by which

small[-]business    debtors   reorganize    and      rehabilitate   their    financial     affairs.”

H.R. Rep No. 116–171, at *1 (2019); see also Press Release, Amy Klobuchar, Senator,

Klobuchar Joins Colleagues to Introduce Bipartisan Legislation to Help Small Businesses

Restructure                Debt                   (April               10,                  2019),

https://www.klobuchar.senate.gov/public/index.cfm/2019/4/klobuchar-joins-colleagues-

to-introduce-bipartisan-legislation-to-help-small-businesses-restructure-debt            (observing

that the enactment of subchapter V “ensur[es] that when mom-and-pop businesses fall on

hard times, they have a chance to recover and be successful”). The “typical family-

owned businesses” and “mom-and-pop[s]” that Congress aimed to protect typically do

not have liquidated claims against them exceeding $1.4 billion.

       41.     Congress enacted subchapter V “in response to [the] concern” that

“[w]hile the Bankruptcy Code envisions that creditors will play a major role in

monitoring [chapter 11] cases” for small businesses, this engagement “often does not

occur, chiefly because creditors in these smaller cases do not have claims large enough to

warrant the time and money to participate actively in these cases.” H.R. Rep No. 116–


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171, at *3 (2019); see also 116 Cong. Rec. E977 (daily ed. July 24, 2019) (statement of

Rep. Sheila Jackson Lee) (same).

       42.     This policy concern does not apply here. The Sandy Hook Families are

the largest creditors in this chapter 11 case, have obtained judgments totaling over

$1.4 billion against both FSS and Jones, and accordingly are implicated in both

chapter 11 cases in a manner that would “warrant the time and money to participate

actively in [both] cases.” H.R. Rep No. 116–171, at *3 (2019). Both the Connecticut

Plaintiffs and the Texas Plaintiffs have separately retained (multiple) counsel in both

chapter 11 cases, and the Official Committee of Unsecured Creditors in the Jones

chapter 11 case is (or will soon be) represented by professionals from three firms so

concerned with the administration of equal justice under the law that they have

discounted their rates in part or in full to ensure nothing less. See Jones, Application of

the Official Committee of Unsecured Creditors of Alexander E. Jones to Retain and

Employ Akin Gump Strauss Hauer & Feld LLP as Counsel [Docket No. 96]

(Jan. 18, 2023); Application of the Official Committee of Unsecured Creditors of

Alexander E. Jones to Retain and Employ Nardello & Co. LLC as Specialized Forensic

Financial Advisor [Docket No. 136] (Feb. 6, 2023).

       43.     These chapter 11 cases do not resemble the ordinary subchapter V case

contemplated by Congress precisely because the Sandy Hook Families will continue to

“play a major role in monitoring” both chapter 11 cases. See id. Said another way, the

typical “mom-and-pop” business does not generate billions of dollars of liability.

The fact that FSS and Jones have done so reinforces the notion that they should not

benefit from the special protections Congress intended should apply only to small




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businesses with modest liabilities capable of providing meaningful recoveries to their

creditors from the small business’s future income.

IV.    The Subchapter V Trustee’s Important Work Will Minimize Any Delay or
       Disruption That Will Result in This Chapter 11 Case

       44.     To date, the subchapter V trustee has made significant progress in this

chapter 11 case and the Sandy Hook Families understand that she will soon share a

preliminary draft of the report that the Court ordered that she publicly file regarding the

Debtor’s financial affairs. See Order Expanding the Subchapter V Trustee’s Duties,

[Docket No. 183] (Sept. 20, 2022) (“For the reasons stated on the record at the

September 20, 2022 hearing, the subchapter V trustee’s duties in this bankruptcy case are

expanded under 11 U.S.C. § 1183(b)(2).           The subchapter V trustee is directed to

investigate the Debtor and file a report pursuant to 11 U.S.C. §§ 1106(a)(3) & (4) as soon

as practicable.”); Sept. 20, 2022 Hr’g Tr., [Docket No. 194] at *255–56 (“[T]here has to

be greater transparency in this case.      I understand that PQPR may want to have

discussions about what that means, but it’s going to cost what it costs . . . I’m charging

the trustee to do the work, and it’ll cost what it costs.”). This important work will ensure

minimal disruption or delay as this chapter 11 case transitions from subchapter V.

       45.     The Sandy Hook Families envision an important, continued role for the

subchapter V trustee if the Debtor’s subchapter V designation is revoked and the FSS

case proceeds under chapter 11. The Sandy Hook Families respectfully submit that the

subchapter V trustee should be appointed as an examiner in the FSS chapter 11 case with

substantially the same responsibilities as her current mandate.




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                            RESERVATION OF RIGHTS

       For the avoidance of doubt, the Sandy Hook Families reserve their rights to

amend or supplement this Motion on any basis and reserve all rights and remedies with

respect to the Motion and otherwise in this chapter 11 case.

                                    CONCLUSION

       For these reasons set forth above, the Sandy Hook Families request that the Court

enter the Proposed Order (a) revoking the Debtor’s subchapter V designation,

(b) allowing this chapter 11 case to proceed under all applicable provisions of chapter 11

of the Bankruptcy Code, and (c) granting such other relief as may be appropriate under

the circumstances.




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Dated: February 15, 2023                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion has been served on
counsel for the Debtor, the Debtor, and all parties receiving or entitled to notice through
CM/ECF on this 15th day of February, 2023.

                                                   /s/ Ryan E. Chapple
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